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It is so Ordered.
                              UNITED STATES DISTRICT COURT
/s/ Jack Zouhary               NORTHERN DISTRICT OF OHIO
U.S. DISTRICT JUDGE                WESTERN DIVISION

      Nayo Cofer

              Plaintiff,
                                                     Case No. 3:14-cv-02192-JZ
      v.
                                                     Judge Jack Zouhary
      AllianceOne Receivables Management, Inc.
      dba AllianceOne

              Defendant.

                           STIPULATION OF DISMISSAL WITH PREJUDICE

              Now come the parties, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

      hereby dismiss the present action with prejudice, each party to bear its own costs.

      Date: March 9, 2015



      RESPECTFULLY SUBMITTED,                           RESPECTFULLY SUBMITTED,

      Hyslip & Taylor, LLC, LPA                         Shumaker, Loop & Kendrick, LLP


      By:     /s/ David M. Menditto                     By:     /s/ Katherine S. Decker
              David M. Menditto                                 Katherine S. Decker
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       Case: 3:14-cv-02192-JZ Doc #: 14 Filed: 03/09/15 2 of 2. PageID #: 61




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2015, I electronically filed the foregoing Stipulation of

Dismissal with Prejudice through the court’s CM/ECF system, which will perfect service upon

the following:

Katherine Stone Decker
Shumaker, Loop & Kendrick - Toledo
1000 Jackson Street
Toledo, OH 43604

Counsel For:
Defendant, AllianceOne Receivables
Management, Inc, dba AllianceOne


                                                                  /s/ David M. Menditto
